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                             UNITED STATES DISTRICT COURT

                                     DISTRICT OF MAINE


ZACHARY SMITH,                                )
                                              )
       Plaintiff,                             )
                                              )       Civil Action No. 1:18-cv-00288-NT
               v.                             )
                                              )
JOSEPH FITZPATRICK, et al.,                   )
                                              )
       Defendants                             )

 NOTICE OF SETTLEMENT AND JOINT MOTION TO INCORPORATE TERMS OF
               SETTLEMENT INTO ORDER OF DISMISSAL

       Pursuant to F. R. Civ. P. 41(a)(2), Plaintiff, Zachary Smith, and Defendant Joseph

Fitzpatrick, Commissioner of the Maine Department of Corrections (collectively, “the Parties”)

hereby provide notice of settlement and move to dismiss this action as to Defendant Fitzpatrick,

without prejudice, upon the condition that the Court incorporate the agreement into the order of

dismissal and retain jurisdiction to enforce the agreement.

       The Parties have reached an agreement to settle Plaintiff’s claim against Defendant

Fitzpatrick. A copy of the Settlement Agreement is submitted with this motion as Exhibit A.

Notably, the Agreement does not resolve any parties’ claim for fees or costs, and the Plaintiff

intends to file a motion for attorneys’ fees and costs pursuant to Fed. R. Civ. P. 54(d)(2)(B) with

subsequent briefing and documentation of fees and costs to be submitted.

       Pursuant to the Settlement Agreement, the Parties request that the court order the

following:

       1.      That the court retain jurisdiction over the case for the purpose of enforcing the

Settlement Agreement and determining an award of attorneys’ fees and costs, if any;



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         2.    That the Court incorporate the terms of the Settlement Agreement into its order of

dismissal and agree to retain jurisdiction over the Settlement Agreement for purposes stated

above;

         4.    That, should the above provisions be acceptable, the Court dismiss the Complaint

without prejudice as to defendant Fitzpatrick.

Respectfully submitted,

September 27, 2018                                   __/s/ James E. Fortin_______
                                                     James E. Fortin
                                                     Assistant Attorney General
                                                     Attorney for Defendant Joseph Fitzpatrick

                                                     /s/ Zachary L. Heiden
                                                     Zachary L. Heiden
                                                     American Civil Liberties Union
                                                     of Maine Foundation
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                                                     Portland, ME 04103
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                                                     /s/ Emma E. Bond
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                                                     Gabe Eber*
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                                                     On behalf of Plaintiff, Zachary
                                                     Smith
                                                     *admitted pro hac vice

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                                     Certificate of Service

       The undersigned hereby certifies that he electronically filed the above document with the
Clerk of Court using the CM/ECF system, which will serve a copy on all counsel of record.



September ___, 2018                                 /s/ James E. Fortin
                                                    James E. Fortin
                                                    Assistant Attorney General




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